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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                         Plaintiff,

             v.                               Civil Action No. 1:20-cv-03590 (JEB)

                                                     PUBLIC VERSION
META PLATFORMS, INC.

                         Defendant.


    Declaration of Daniel Matheson in Support of Plaintiff Federal Trade Commission’s
   Motion in Limine to Admit Select Testimony of Adam Presser and Julia Roberts
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9. Attached as Exhibit G is a true and correct copy of              , Pinterest document:




10. Attached as Exhibit H is a true and correct copy of excerpts of the deposition transcript of

   TikTok’s Adam Presser.

11. Attached as Exhibit I is a true and correct copy of excerpts of the deposition transcript of

   Pinterest’s Julia Roberts.

12. Attached as Exhibit J is a true and correct copy of the court’s Order Denying Motion to

   Quash Trial Subpoena, FTC v. Qualcomm, Inc., No. 17-CV-00220-LHK, Dkt. 1196 (N.D.

   Cal. Jan. 8, 2019).

13. Attached as Exhibit K is a true and correct copy of PX0689, Declaration of Adam Presser,

   TikTok v. Garland, 122 F.4th 930 (D.C. Cir. 2024), aff’d, 145 S. Ct. 57 (2025).

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 21st day of February, 2025, in Arlington, Virginia.



                                                              Respectfully submitted,

                                                              /s/ Daniel Matheson
                                                              Daniel Matheson (D.C. Bar 502490)




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